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     Attorneys for Defendant RAMON DESAGE
10
11
                                 UNITED STATES DISTRICT COURT
12
                                        DISTRICT OF NEVADA
13
14
     UNITED STATES OF AMERICA,           )
15                                       )              Case No.: 2:13-cr-00039-JAD-VCF
           Plaintiff,                    )
16                                       )
17                 vs.                   )
                                         )
18   RAMON DESAGE,                       )
                                         )
19         Defendant.                    )
20   ____________________________________)

21               UNOPPOSED MOTION TO TRAVEL AND PROPOSED ORDER
22          Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
23
     Esuire and Richard B. Herman, Esquire, and hereby moves this Court for permission to travel from
24
     Las Vegas, Nevada to Los Angeles, California on Friday, November 7, 2014 and returning in the
25
26   evening on Saturday, November 8 2014. Defendant will be driving to Los Angeles to attend a

27   function on Friday evening and a business meeting on Saturday morning.
28
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 1          On October 17, 2014, Richard B. Herman, Counsel for Mr. Desage, personally discussed this
 2
     request with Pre-Trial Services Officer Jaime Stroup, who advises he consents to this travel request.
 3
     Mr. Herman will provide Officer Stroup with Mr. Desage’s hotel information. Mr. Desage will
 4
     continue with electronic monitoring and will abide by all other bail conditions. Upon his return to
 5
 6   Las Vegas on November 8, Mr. Desage will give a courtesy call to Officer Stroup.

 7          Richard A. Wright, counsel for Mr. Desage has discussed this request with Assistant United
 8
     States Attorney Gregory Damm, who has no opposition to it.
 9
            DATED this 21st day of October 2014.
10
                                                   Respectfully submitted:
11
12
                                                   BY          /s/ Richard A. Wright
13                                                   RICHARD A. WRIGHT, ESQUIRE
14                                                   300 S. Fourth Street
                                                     Suite 701
15                                                   Las Vegas, NV 89101
                                                    Telephone: (702) 382-4004
16                                                  Attorney for Defendant, Ramon Desage
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18                                                 BY          /s/ Richard B. Herman
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22                                                  Attorney for Defendant, Ramon Desage
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         Case 2:13-cr-00039-JAD-VCF          Document 92       Filed 10/21/14     Page 3 of 3



 1
 2
                                                ORDER
 3
            This matter having come before the Court on the unopposed motion of Defendant Ramon
 4
     Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to Los Angeles on
 5
 6   November 7, 2014 and returning November 8, 2014 is GRANTED.

 7
 8                                              __________________________________________
                                                HONORABLE JENNIFER A. DORSEY
 9
10
                                                Dated Octobe 21, 2014.
11   Respectfully submitted by:

12   WRIGHT STANISH & WINCKLER

13       /s/ Richard A. Wright
14   RICHARD A. WRIGHT

15
     RICHARD B. HERMAN, P.C.
16
17      /s/ Richard B. Herman
     RICHARD B. HERMAN
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